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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Criminal No. 21-cr-393
                                              :
HUNTER PALM,                                  :
                                              :
                          Defendant.          :

                        JOINT MOTION TO CONTINUE AND
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America and defense counsel for Hunter Palm hereby jointly move

this Court for a continuance of the above-captioned proceeding until 3:30 p.m. on September 28,

2021, and further to exclude the time within which the trial must commence under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such

actions outweigh the best interest of the public and the defendant in a speedy trial pursuant to the

factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).   Defense counsel continues

to work toward seeking admission to the District of Columbia and has received the Court’s

permission to appear for purposes of this motion.

                                  FACTUAL BACKGROUND

       Defendant is charged via indictment with offenses related to crimes that occurred at the

United States Capitol on January 6, 2021.     In brief, on that date, as a Joint Session of the United

States House of Representatives and the United States Senate convened to certify the vote of the

Electoral College of the 2020 U.S. Presidential Election, members of a large crowd that had

gathered outside forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.

Scores of individuals entered the U.S. Capitol without authority to be there. As a result, the Joint
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Session and the entire official proceeding of the Congress was halted until the Capitol Police, the

Metropolitan Police Department, and other law enforcement agencies from the city and

surrounding region were able to clear the Capitol of hundreds of unlawful occupants and ensure

the safety of elected officials. This event in its entirety is hereinafter referred to as the “Capitol

Attack.”

       The investigation and prosecution of the Capitol Attack will likely be one of the largest in

American history, both in terms of the number of defendants prosecuted and the nature and volume

of the evidence.   Over 550 individuals have been charged in connection with the Capitol Attack.

The investigation continues and the government expects additional individuals will be charged.

While most of the cases have been brought against individual defendants, the government is also

investigating conspiratorial activity that occurred prior to and on January 6, 2021.   The spectrum

of crimes charged and under investigation in connection with the Capitol Attack includes (but is

not limited to) trespass, engaging in disruptive or violent conduct in the Capitol or on Capitol

grounds, destruction of government property, theft of government property, assaults on federal and

local police officers, firearms offenses, civil disorder, obstruction of an official proceeding,

possession and use of destructive devices, and conspiracy.

       Defendants charged and under investigation come from throughout the United States, and

a combined total of over thousands of search warrants have been executed in almost all fifty states

and the District of Columbia.    Multiple law enforcement agencies were involved in the response

to the Capitol Attack, which included officers and agents from U.S. Capitol Police, the District of

Columbia Metropolitan Police Department, the Federal Bureau of Investigation, the Department

of Homeland Security, the Bureau of Alcohol, Tobacco, Firearms and Explosives, the United

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States Secret Service, the United States Park Police, the Virginia State Police, the Arlington

County Police Department, the Prince William County Police Department, the Maryland State

Police, the Montgomery County Police Department, the Prince George’s County Police

Department, and the New Jersey State Police.         As the Capitol Attack investigation is still on-

going, the number of defendants charged and the volume of potentially discoverable materials will

only continue to grow.

       Mr. Palm, the defendant in this case, is charged with various crimes relating to the Capitol

Breach. He is not detained pending trial and must comply with various conditions of release.

Specifically, he is charged with obstructing an official proceeding, in violation of 18 U.S.C.

§ 1512(c)(2), and unlawfully entering the United States Capitol building and engaging in

disorderly conduct, in violation of a series of related misdemeanors.

       In this case, the government has already provided defense counsel with preliminary

discovery pursuant to the agreed-upon protective order Mr. Palm signed.               The provided

preliminary discovery includes: United States Capitol building surveillance footage from January

6, 2021; Federal Bureau of Investigation materials related to the arrest of Mr. Palm; FBI materials,

photographs, and videos related to Mr. Palm’s charged conduct; open-source materials related to

Mr. Palm’s conduct in the Capitol building. We have also already arranged six opportunities for

defense counsel and an investigator to walk through the crime scene, which required the USCP to

obtain the approval of many different Congressional offices to obtain access to various areas that

are relevant to the charges being brought, with the latest tour date available in August 2021.

                                              ARGUMENT

       Pursuant to the Speedy Trial Act, an indictment charging an individual with the

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commission of an offense generally must be filed within thirty days from the date on which such

individual was arrested or served with a summons in connection with such charges. 18 U.S.C. §

3161(a).      Further, as a general matter, in any case in which a plea of not guilty is entered, a

defendant charged in an information or indictment with the commission of an offense must

commence within seventy days from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a judicial officer of the court in

which such charge is pending, whichever date last occurs.         18 U.S.C. § 3161(c)(1).

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which a trial must commence.              As is relevant

to this motion for a continuance, pursuant to subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A). This provision further requires the Court to set forth its reasons for

finding that that any ends-of-justice continuance is warranted.         Id. Subsection (h)(7)(B) sets

forth a non-exhaustive list factors that the Court must consider in determining whether to grant an

ends-of-justice continuance, including:

       (i)        Whether the failure to grant such a continuance in the proceeding would
                  be likely to make a continuation of such proceeding impossible, or result
                  in a miscarriage of justice.

       (ii)       Whether the case is so unusual or so complex, due to the number of
                  defendants, the nature of the prosecution, or the existence of novel
                  questions of fact or law, that it is unreasonable to expect adequate
                  preparation for pretrial proceedings or for the trial itself within the time
                  limits established by this section.
                  ...
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         (iv)    Whether the failure to grant such a continuance in a case which, taken as a
                 whole, is not so unusual or so complex as to fall within clause (ii), would
                 deny the defendant reasonable time to obtain counsel, would unreasonably
                 deny the defendant or the Government continuity of counsel, or would
                 deny counsel for the defendant or the attorney for the Government the
                 reasonable time necessary for effective preparation, taking into account
                 the exercise of due diligence.

18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).     Importantly, “[i]n setting forth the statutory factors that

justify a continuance under subsection (h)(7), Congress twice recognized the importance of

adequate pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197 (2010) (citing

§3161(h)(7)(B)(ii), (B)(iv)).

         An interests of justice finding is within the discretion of the Court.   See, e.g., United States

v. Rojas-Contreras, 474 U.S. 231, 236 (1985); United States v. Hernandez, 862 F.2d 17, 24 n.3

(2d Cir. 1988). “The substantive balancing underlying the decision to grant such a continuance is

entrusted to the district court’s sound discretion.” United States v. Rice, 746 F.3d 1074 (D.C. Cir.

2014).

         In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).         The Capitol Attack

is likely the most complex investigation ever prosecuted by the Department of Justice.

Developing a system for storing and searching, producing and/or making available voluminous

materials accumulated across hundreds of investigations, and ensuring that such system will be

workable for both the government and defense, will take time.            Even after a system generally

agreeable to the government and the Federal Public Defender is designed and implemented, it will

take time to load, process, search and review discovery materials.        Further adding to production

and review times, certain sensitive materials may require redaction or restrictions on
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dissemination, and other materials may need to be filtered for potentially privileged information

before they can be reviewed by the prosecution.

       The need for reasonable time to organize, produce, and review voluminous discovery is

among multiple pretrial preparation grounds that Courts of Appeals have routinely held sufficient

to grant continuances and exclude the time under the Speedy Trial Act.      See, e.g., United States

v. Bikundi, 926 F.3d 761, 777-78 (D.C. Cir. 2019) (Upholding ends-of-justice continuances

totaling 18 months in two co-defendant health care fraud and money laundering conspiracy case,

in part because the District Court found a need to “permit defense counsel and the government

time to both produce discovery and review discovery”); United States v. Bell, 925 F.3d 362, 374

(7th Cir. 2019) (Upholding two-month ends-of-justice continuance in firearm possession case, over

defendant’s objection, where five days before trial a superseding indictment with four new counts

was returned, “1,000 pages of new discovery materials and eight hours of recordings” were

provided, and the government stated that “it needed more than five days to prepare to try [the

defendant] on the new counts”); United States v. Vernon, 593 F. App’x 883, 886 (11th Cir. 2014)

(District court did not abuse its broad discretion in case involving conspiracy to commit wire and

mail fraud by granting two ends-of-justice continuances due to voluminous discovery); United

States v. Gordon, 710 F.3d 1124, 1157-58 (10th Cir. 2013) (Upholding ends-of-justice continuance

of ten months and twenty-four days in case involving violation of federal securities laws, where

discovery included “documents detailing the hundreds financial transactions that formed the basis

for the charges” and “hundreds and thousands of documents that needs to be catalogued and

separated, so that the parties could identify the relevant ones”) (internal quotation marks omitted);

United States v. Lewis, 611 F.3d 1172, 1177-78 (9th Cir. 2010) (Upholding ninety-day ends-of-

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justice continuance in case involving international conspiracy to smuggle protected wildlife into

the United States, where defendant’s case was joined with several co-defendants, and there were

on-going investigations, voluminous discovery, a large number of counts, and potential witnesses

from other countries); United States v. O’Connor, 656 F.3d 630, 640 (7th Cir. 2011) (Upholding

ends-of-justice continuances totaling five months and twenty days in wire fraud case that began

with eight charged defendants and ended with a single defendant exercising the right to trial, based

on “the complexity of the case, the magnitude of the discovery, and the attorneys’ schedules”).

       In sum, due to the number of individuals currently charged across the Capitol Attack

investigation and the nature of those charges, the ongoing investigation of many other individuals,

the volume and nature of potentially discoverable materials, and the reasonable time necessary for

effective preparation by all parties taking into account the exercise of due diligence, the failure to

grant such a continuance in this proceeding would be likely to make a continuation of this

proceeding impossible, or result in a miscarriage of justice.      Accordingly, the ends of justice

served by granting a request for a continuance outweigh the best interest of the public and the

defendant in a speedy trial.

       Government counsel notified the defense of the filing of this motion, and counsel joins in

moving the Court to continue the status hearing to September 28, 2021, and to exclude time under

the Speedy Trial Act, 18 U.S.C. § 3161, between now and the next status hearing.

       WHEREFORE, the parties respectfully request that this Court grant the motion for a

continuance of the above-captioned proceeding, continue the proceeding until 3:30 p.m. on

September 28, 2021, and exclude the time within which the trial must commence under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such

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actions outweigh the best interest of the public and the defendant in a speedy trial pursuant to the

factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).

                                               Respectfully submitted,

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